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INSURANCE, STATE OF TEXAS,                                       §
WASHINGTON STATE DEPARTMENT OF                                   §
FINANCIAL INSTITUTIONS, WEST VIRGINIA                            §
SECURITIES COMMISSION, AND STATE OF                              §
WISCONSIN                                                        §
                                                                 §
                            Plaintiffs,                          §
                                                                 §
v.                                                               §
                                                                 §
TMTE, INC. a/k/a METALS.COM, CHASE                               §
METALS, INC., CHASE METALS, LLC,                                 §
BARRICK CAPITAL, INC., LUCAS THOMAS                              §
ERB a/k/a LUCAS ASHER a/k/a LUKE ASHER,                          §
and SIMON BATASHVILI,                                            §
                                                                 §
                            Defendants,                          §
                                                                 §
and                                                              §
                                                                 §
TOWER EQUITY, LLC,                                               §
                                                                 §
                            Relief Defendant.                    §
                                                                 §


                                    INITIAL REPORT OF THE RECEIVER

             Kelly M. Crawford, as the court-appointed Receiver ("Receiver"), submits the following

     initial report pursuant to this Court's Statutory Restraining Order, Order for an Accounting, Order

     for Appointment of Receiver, Order for Expedited Discovery, and Other Equitable Relief and Order

     to Show Cause Regarding Preliminary Injunction [Docket No. 16] (the "SRO"). 1




     1 The SRO was continued in force by Consent Orders entered by the Comi regarding the Defendant entities and the
     individual Defendants Asher and Batashvili [Docket Nos. 164, 165]. The Receiver requests the Court to take judicial
     notice of the pleadings on file in this lawsuit.

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                                                I.
                                           INTRODUCTION

        This rep01i is based upon the Receiver's investigation and information gathered

since his appointment by the Court on September 22, 2020 - less than 50 days ago. 2 As

discussed more specifically herein, the scope of this receivership is significant, with more

than $185 million received by the Defendants from investors throughout the United States.

The revelation of the Defendants' scheme devastated the investors - mostly elderly whom

were persuaded by the Defendants to invest their life's savings and retirement in the grossly

overpriced coins sold by the Defendants.                This voicemail message from a 76 year old

woman in Minnesota is typical of the desperate investor calls flooding the Receiver's office:

         "Good morning Mr. Crawford. I received your letter today. (heavy sigh). I have to

tell your right now I'm very numb. (another heavy sigh). !just need to know what this is all

about with Metals. com. All my money that I had - just about all is that precious metals. I

need to hear something before !.. .. it's going to affect my health I know that ... I can't tell you

how distraught I am. Please call me when you can. Thank you. "

        The Receiver's job is to recover as many assets as possible, liquidate the same, and

distribute the assets to the investors to provide them some relief. This rep01i outlines the

steps taken toward that end by the Receiver to date.




2
  This report reflects the opinions of the Receiver based upon the information gathered to date. The sources for this
info1mation include numerous discussions with investors; interviews with former employees; interviews with
neighboring tenants; review of documents seized; review of mail forwarded to the Receiver; inspection of the
residences of Defendants Asher and Batashvili; inspection of the principal office of the Defendants; and the pleadings
on file with the Comt.

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                                              II.
                                  THE WOLVES OF BEVERLY HILLS


         Defendants Simon Batashvili, 41, and Lucas Asher3, 35, operated their commodities boiler

room out of 24,000 square feet on the 7111 floor of 8383 Wilshire Blvd in Beverly Hills, California.

They shared a large office with glass walls at the back of the lease space so they could keep an eye

on the dozens of dialers and closers seated next to each other, armed with a phone and computer

screen. Asher and Batashvili installed cameras and microphones to watch and listen to everyone.

Asher focused on marketing while Batashvili concentrated on operations. Both were involved in

sales - training the salespersons and closing the biggest sales.

        At 9:00 a.m., each morning, standing next to a money machine blowing cash4 , Asher

shouted over a microphone to his army of dialers and closers - "ARE YOU READY TO MAKE

MONEY?" The dialers and closers knew huge commissions and gifts from Batashvili and Asher

awaited them if they were successful in getting money from investors that day.                         The massive

financial rewards paid by Batashvili and Asher to closers were best seen by the Ferraris' and other

luxury automobiles in the garage of 83 83 Wilshire Blvd. 5 Indeed, Batashvili and Asher created a

real life Beverly Hills version of the hedonistic brokerage firm portrayed in "The Wolf of Wall

Street." 6




3 Lucas Asher's original name was Luke Thomas Erb, until 2012 when he obtained a Decree from the Los Angeles
Superior Court changing his name to Lucas Asher.
4
  A photograph of the money machine is attached hereto as Exhibit A.
5
   The description of the activities in the office of the Defendants is based upon the Receiver's interviews of
neighboring tenants of 8383 Wilshire Blvd who observed the activity.
6 "The Wolf of Wall Street" is a 2013 film starring Leonardo DiCaprio as the founder of Wall Street brokerage firm that

defrauded wealthy investors out of millions, creating an empire of excess while partaking in a hedonistic brew of sex,
drugs, and thrills before being shut down by the SEC and FBI.

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         Batashvili and Asher worked together as sellers of precious metals at Goldline International

before starting their own company called Metals.com in or about 2017. As evidenced by the scripts

given by Batashvili and Asher to their sales force and information shared by investor victims, it is

apparent that Batashvili and Asher encouraged their sales crew to use lies, high pressure tactics, and

fear to persuade elderly investors to move substantially all, if not all, of their life's savings and

retirement into self-directed IRA's and use the monies in the self-directed IRA's to purchased gold

and silver coins from the Defendants. The melt value of the coins was only a fraction of the price

paid by the investor victims. Once investors received the coins, realized the actual value of the

coins was worth significantly less than the amount they paid, many of the investors complained.

Batashvili and Asher taught their sales force to tell the investors the coins were collector items and

as such had value far in excess of the melt value - a complete lie.

        As millions of dollars from investor victims poured into the enterprise created by Batashvili

and Asher, the number of complaints from investor victims to regulators throughout the country and

civil lawsuits also increased. 7 In an effort to keep the money machine running and get away from

the regulators and civil lawsuits, Batashvili and Asher purported to sell "Metals.com" and they

started a new company called Barrick Capital. Hoping to stay in front of the regulators, Batashvili

and Asher also closed their bank accounts at Bank of America and opened new ones at Wells Fargo

Bank and other banks. They also hired Jones Day and other national law firms to defend the

entities from a myriad of regulatory actions and civil lawsuits.

        Funded by millions of dollars stolen from elderly investors, Batashvili and Asher lived

lavish lifestyles. Asher focused on his image. He rented a house on the hillside of Beverly Hills for


7
  Batashvili and Asher did not want investors to see the boiler room from which they operated Metals.com. Therefore,
they rented an office at 433 N. Camden Drive, Suite 970 in Beverly Hills, California ("Suite 970"). They never
occupied the space, but used it solely as a mail drop. While checks to Metals.com were being mailed to that address
Batashvili and Asher had the mail picked up on a regular basis from the receptionist for Suite 970.

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$25,000 per month, drove a Ferrari, wore red leather coats, and Gucci shoes. He was featured on

the cover of the Beverly Hills magazine "Resident" with the title "LUCAS ASHER Self-Made

Technology Millennial Millionaire." He purported to invest in cutting edge technology, wrote

music, and spent his spare time skydiving. Batashvili, on the other hand, led a less transient life,

but created a lavish lifestyle for himself, his wife Fainche Maccarthy, a set decorator for films, and

their 6 year old daughter. They rented a 4,800 square foot house valued at $6.8 million near

Beverly Hills and furnished it with expensive furniture and art work. Batashvili showered his wife

with jewelry. Batashvili, like Asher, loves music as shown by his collection of guitars, and also

drove a Ferrari until it was totaled and replaced with a 2020 Shelby Mustang.

       With millions of dollars of investor monies at their disposal, Batashvili and Asher set up a

myriad of entities they owned and controlled.       In addition, they used investor funds to hire

programmers to develop a web based business. They rented a separate office on the         7th   floor of

8383 Wilshire for developing software. They also used investor monies to diversify into real estate,

venture capital, and technology investments. Tower Equity, LLC, a Relief Defendant controlled by

Asher and Batashvili, and affiliated entities, purchased numerous houses in Philadelphia,

Pennsylvania at a Sherriff s sale and purchased fractional real estate interests in commercial,

industrial, and multi-family properties in Florida, Tennessee, Pennsylvania, and Texas. They also

solicited investors to invest monies in collateralized notes in which they promised investors

payment of a guaranteed annual return of 7 .5%, payable monthly.

                                                    III.

                                         THE FIRST 48 HOURS

       On the morning of September 24, 2020, dozens of FBI agents executed a search warrant and

raided the Defendants' office at Suite 700, 8383 Wilshire. For neighboring tenants, once they saw



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the FBI agents approach the building, there was no question where they were headed. Neither

Batashvili nor Asher were in their office at the time of the raid. Asher was in Mexico skydiving

and Batashvili hid.        Due to COVID-19, many of the employees were not in the office.

Nevertheless, the FBI agents spent several hours seizing evidence pursuant to the search warrant

and interviewing those employees who were present and willing to cooperate.

        In the afternoon of September 24, 2020, the FBI released the Defendants' office to the

Receiver. The Receiver and his team 8 changed the locks to the office; posted notices warning that

the premises were now in the possession of the Receiver; and made an inventory of the contents of

the office.    The Receiver also posted notice that pursuant to the SRO, the Receiver removed

Defendants Batashvili and Asher from serving as an officer or director for the entities in

receivership. A copy of such notice was sent to Jones Day, the law firm representing the entities at

the time of the receivership, and the Receiver advised Jones Day that it was no longer authorized to

represent the entities in receivership.

        In addition, the Receiver interviewed Samara Mills, the Human Resource Manager, who

remained in the office after the FBI agents left. She said the employees had been paid through the

previous week, but she expressed concern for how the employees would be paid for the week

leading up to the receivership and whether the employees were still employed. The Receiver

explained the receivership to Ms. Mills; that the entities were no longer operating; that the

employees were terminated as of that date; and that the Receiver would determine how employees

would be paid, if at all, for the last week of their employment.

        The Receiver and his team discovered the records of the Defendants' operations were stored

on cloud platforms hosted by Microsoft, Dropbox, Google, Salesforce, Intuit, and Amazon. The
8 The Receiver engaged Scheef & Stone, LLP, a law firm in Dallas, Texas, of which the Receiver is a partner, as his
attorneys. In addition, the Receiver engaged Brandlin & Associates in Los Angeles, California as his forensic
accountant.

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Receiver's team located the person in charge ofIT for the Defendants, interviewed him, and sought

his assistance in gaining access to the documents. He explained to the Receiver that intricate

passwords for access to the documents were stored on the laptop computers taken into evidence by

the FBI, so the IT administrator was unable to gain access to the cloud. Nevertheless, he remained

willing to assisting the Receiver.   The Receiver found hard copies of files for more than 700

investors, boxed up the files and shipped them to the Receiver's office in Dallas, Texas.

       The Receiver seized gold and silver on the premises worth approximately $10,000.

       During the course of gathering information at the Defendants' office, the Receiver and his

team became aware of a number of entities owned or controlled by the Defendants. The Receiver,

working together with the CFTC, sent the SRO to various financial institutions that may have

accounts for the Defendants or the entities owned or controlled by the Defendants. Indeed, the

CFTC sent the SRO to more than 20 banks believed to be associated with the Defendants.

       With the assistance of the CFTC, the Receiver sent letters to each of the custodians of the

Self-Directed IRA's that were being used by investors to purchase metals from the Defendants.

The Receiver provided the SRO to the Custodians and advised the Custodians that any powers of

attorney that had been executed by the investors in favor of the Defendants were revoked and that

the Custodians were no longer authorized to take instruction from any of the Defendants regarding

the investors' accounts. The Receiver explained to the Custodians that the metals in the depository

for the investors remained the property of the investors and that the monies in the Self-Directed

IRA's remained the property of the investors.

       The Receiver also provided the SRO to Bayside Metals, the wholesale supplier of metals

ordered by the Defendants. The Receiver spoke to the attorney for Bayside Metals and confirmed

that Bayside Metals was in receipt of the SRO and had frozen all pending transactions. In addition,



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the Receiver's team sent a copy of the SRO to the two primary depositories for the metals sold to

the investors by the Defendants - the Delaware Depository and Brinks.

         The Receiver's team also changed the address at the U.S. Post Office for the Defendants'

mail so that it would be sent to the Receiver's office.

               A. BATASHVILl'S HOME

       The Plaintiffs Complaint and other pleadings, including the SRO, were served upon

Batashvili by serving Batashvili's wife at Batashvili's residence. Immediately after service of the

pleadings, the Receiver and his team introduced themselves to Batashvili' s wife, who informed the

Receiver that Batashvili was not in the house.       She refused to disclose his whereabouts. The

Receiver spoke with Mark Rasmussen of Jones Day who had been handling the regulatory and civil

actions against the Defendants, and they agreed that an inventory of Batashvili' s house could be

made by the Receiver the following day when Batashvili's daughter was out of the house. The

following day the Receiver and his team made an inventory of the contents of Batashvili's house.

In a subsequent trip to Batashvili's house, the Receiver took possession of certain furniture and

artwork. Batashvili's wife also turned over to the Receiver the jewelry she received during the

marriage. The house was surrendered to the landlord.

               B. ASHER'S HOME

       The Plaintiffs Complaint and other pleadings, including the SRO, were also served upon

Asher by serving an adult male who lived in part of the house rented by Asher. The Receiver and

his team gained access to the house rented by Asher and made an inventory of its contents. The

Ferrari driven by Asher was parked in the garage of 8383 Wilshire, but the key to the Ferrari was

not available. As a result, the Receiver and his team hired a repossession company to remove the

Ferrari from the garage and put it in storage. The Receiver discovered the Ferrari was not insured



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and immediately purchased insurance on the Ferrari. In a subsequent visit to Asher's rented home

the Receiver took possession of certain of Asher's personal property and the landlord took

possession of the house.

                                                            IV.

              ESTABLISHING NATIONAL JURSIDICTION FOR THE RECIEVERSHIP

         Pursuant to 28 U.S.C. Section 754, a Receiver may be vested with complete jurisdiction

and control of all property within the territory of a federal district court if the Receiver, within 10

days of his appointment, files with the federal district court a copy of the complaint and the order

appointing him Receiver. Because of the breadth of the Defendants' scheme and their solicitation

of investors throughout the United States, the Receiver filed a copy of the complaint and the order

appointing him Receiver in all 94 federal district courts of the United States, including Puerto Rico.

These filings establish national jurisdiction for the receivership and allow the Receiver to recover

assets of the Defendants that may be found in any part of the United States.

                                                            v.
                                                       INVESTORS

        The Receiver used the investor files found at the Defendants' office to prepare a database of

investors. To date, this database includes the names of 941 known investors. 9 After numerous

demands upon Microsoft, and with the cooperation of a former employee of the Defendants, the

Receiver gained access to the cloud records regarding the investors.                  From these records, the

Receiver will be able to insure the database of investors prepared by the Receiver is complete.

        In order to advise investors of the receivership, the Receiver established a website,

www.metalsandbarrickcapitalreceivership.com,             where     the    Receiver     provides     his    contact

9
 The Receiver has received calls from some investors for which there was no hard file maintained by the Defendants.
The Receiver is adding these names of the investors to the database of investors.

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information, answers to frequently asked questions, a timeline of events, and copies of the

Complaint, and the orders of the Court. In addition, the Receiver gained control of the domain

names for metals.com, chasemetals.com, and barrickcapital.com so that they are now redirected to

the Receiver's website.

           Because most of the investors are elderly, many do not have access to a computer or are

unable to find a website easily. For that reason, the Receiver mailed a letter to each known investor

explaining the receivership and providing the Receiver's contact information. Since that time, the

Receiver has been flooded with calls and emails. Although the Receiver returns some of the calls

and emails, the Receiver has an attorney on his team who is dedicated to returning investor calls.

Each call is lengthy because the investors are distraught and it takes time to insure the investor

clearly understands the receivership process and what to expect. The Receiver's goal is to insure

investor calls are returned the same day they are received or the following day.

           The Receiver has a paralegal dedicated to recovering and maintaining information from

each investor to facilitate communications with the investors during the claims process described

herein.

                                                               VI.

                                           ASSETS RECOVERED TO DATE

           The assets recovered to date by the Receiver are as follows:

                    Wells Fargo Bank:                           $5,932,333.63 10

                    First City Bank:                            $198,144.11

                    Chase:                                      $11,720.36

                    Signature Bank 11 :                         $1,000,000


10
     The Receiver opened a receivership bank account in which to deposit monies and assets received.

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                 Real Property 12 :                           $1,300,000 (approximate equity)

                 Office computers and furnishings 13 : Not yet determined

                 2020 Shelby Mustang                          $75,000 (estimated FMV)

                 2016 Mercedes G-Class 14                     $10,000 (estimated FMV less lien)

                 Furniture and Artwork                        Not yet determined

                 Jewelry                                      Not yet determined

        The Receiver has leads on other assets that have not yet been turned over to the Receiver. 15

                                                             VII.

                                    POTENTIAL SOURCES OF RECOVERY

        The Receiver also has the following additional sources for recovery of investor monies.

        A.       REAL PROPERTY

        During the Receiver's investigation, the Receiver discovered that in 2019 Defendant Tower

Equity, LLC, or an affiliated Tower entity, purchased at a Sheriffs sale and owns 17 residential

properties in Philadelphia, Pennsylvania.            According to public records, Tower paid a total of

$1,254,000 for these properties. Based on Realtor.com, the current fair market value of the 17

residential prope1iies is $2,729,997. A schedule of the 17 residential properties is attached hereto as

Exhibit B.

        The Receiver filed in the real prope1iy records a Notice of Lis Pendens, including a copy of

the Court's SRO, with respect to each of the 17 properties.




11
   Signature Bank confirmed the amounts frozen by the SRO and is in the process of turning over the funds to the
Receiver, but the funds have not yet been received.
12
   See infi·a part VII, A.
13
   Includes 150 Apple computers, 37 PC monitors, 17 large screen TV's, desks, chairs, artwork, kitchen appliances, etc.
14
   Subject to a lien of approximately 60,000.
15
   For instance, the Receiver is aware that some Defendants had a PayPal account. As a result the Receiver served the
SRO upon PayPal with a demand that any monies in the accounts be turned over to the Receiver.

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        In addition, Defendant Asher testified in his asset deposition that Defendant Tower Equity,

LLC, or an affiliated Tower entity, purchased fractional interests in properties in Florida,

Tennessee, Texas, and Pennsylvania - ranging from commercial to industrial to multi-family.

Although Asher testified he made the decision to invest in these fractional interests, he claimed he

could not remember in what cities these real properties were located. 16

        B.       COMMISSIONS

        The law is well established that a Receiver may recover commissions received from sales

persons for their role in soliciting investor monies for an unlawful scheme. Warfield v. Byron, 436

F.3d 551, 560 (5th Cir. 2006). In such instance, sales persons are not being paid with profits earned

from a legitimate enterprise, but instead are being paid commissions from the principal amount

received from investors in the scheme. Regardless of whether the salespersons knew or should

have known that Metals.com or Barrick capital or the other Defendant entities were being operated

illegally, the commissions the salespersons received are recoverable as fraudulent conveyances. Id.

As the recipient of a fraudulent transfer, the salesperson must be able to show that he or she

received the commissions in good faith and in exchange for reasonably equivalent value. While a

salesperson may be able to claim he or she received the commissions in good faith, the salesperson

cannot show he or she provided reasonably equivalent value in exchange for the money received.

Adding more investors to a fraudulent scheme does not provide value, but rather only enlarges the

number of victims.

        The Receiver is aware of several million dollars of investor funds paid in commissions. 17

With the significant amount of investor funds used to compensate salespersons, and which the


16
   Presumably such information will be contained in the documents of Tower Equity digitally stored in the Google
platform.
17
   The specific amounts paid to each salesperson will be determined once the forensic accounting of the Defendants'
records is complete.

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Receiver contends are recoverable as a matter of law, the Receiver intends to pursue an ancillary

action against the salespersons to recover the commissions and/or seek to settle such claims subject

to the approval of this Court

          C.     INVESTMENTS BY THE DEFENDANTS

         The Receiver discovered that Defendant Tower Equity LLC owns 200 shares of stock in

Spotify Technology S.A., which as of November 6, 2020 traded at $262.95 per share. The Receiver

is in the process of transferring ownership of the shares to the Receiver so that the shares of stock

may be sold. This could generate in excess of $50,000 for the receivership estate.

         At his asset deposition Defendant Asher testified that he used Defendant Tower Equity LLC

to make a number of venture capital, equity, or stock purchases, including an investment of

approximately $300,000 in Space Exploration Technologies Corp. A list of the known entities in

which Defendant Tower Equity LLC invested                is attached hereto as Exhibit C.            Although

Defendant Asher made the decision to invest in the entities, he claimed to be unable to remember

how much was invested or any specifics regarding the investments. The Receiver provided a copy

of the SRO to the entities and made demand upon such entities to provide information regarding

monies received and the investment.          Defendant Asher also testified there could be additional

entities in which Defendant Tower Equity LLC invested that he could not recall. 18 Despite Asher'

lack of cooperation, the Receiver will continue his search for any such investments and take control

of the investments pursuant to the Court's orders.

         D.         MONIES AND METALS HELD BY BAYSIDE METAL EXCHANGE

         Once the Defendants received monies from the investor victims, the Defendants placed

orders for the metals themselves with Bayside Metal Exchange ("BME"). BME would in turn

18
   Presumably such information will be contained in the documents of Tower Equity digitally stored in the Google
platform.

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usually deliver the metals to the depository for the investor. The Defendants, of course, would take

their illegal gains from the monies received from the investors before transferring monies to BME

for the purchase of the metals.

         When BME learned of the receivership, BME froze all pending transactions with the

Defendants 19 • BME, in cooperation with the Receiver, provided the Receiver a list of all pending

transactions. While the Receiver prefers that BME turn over to the Receiver (for distribution to the

investors who placed the pending orders) the money BME received for unfilled transactions, BME

prefers to complete the pending transactions and deliver the metals in their inventory. The Receiver

and BME are continuing negotiations regarding the frozen open transactions.

         E.      THE MYRIAD OF ENTITIES OWNED BY DEFENDANTS

         The SRO extends to the entities owned and controlled by the Defendants. The Receiver

made demand upon Batashvili and Asher to identify the entities they own or control. Batashvili and

Asher ignored the Receiver's request and failed to provide a list of entities until the Receiver filed

an Emergency Motion for Show Cause Order seeking to hold Batashvili and Asher in contempt of

Court for their refusal to comply with the Court's Orders.             Attached hereto as Exhibit D is a true

and correct copy of the list finally provided to the Receiver by Defendants Batashvili and Asher.

         The Receiver gathered corporate documents indicating that the list of entities provided by

Defendants Batashvili and Asher is far from complete. Attached hereto as Exhibit E is a list of

additional entities in which Defendants Batashvili or Asher are identified as owners, officers, or

directors.

         The Receiver also obtained documents showing that Defendant Asher set up two

Panamanian offshore entities.        At his asset deposition Defendant Asher testified that he set up the
19 BME identified the following accounts as the Defendants or under the possession and control of the Defendants, and
froze pending transactions with Barrick Capital, Glencore Financial, Metals.com, Newmont Financial, Northwestern
Finance, and USA Mint.

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offshore entities because of his strong interest in ecology and desire to live in Panama. He later

admitted he made only one trip to Panama, which was to set up the Panamanian offshore entities.

Defendant Asher testified that the offshore entities were funded with less than $10,000 and that they

held the stock of Defendant TMTE.

       The Receiver intends to continue his investigation into the myriad of entities to determine if

any of the entities hold assets that may be recovered for the benefit of the receivership estate.

                                                  VIII.

        PENDING REGULATORY AND CIVIL ACTIONS AGAINST THE DEFENDANTS

       At the time the Receiver was appointed, there were regulatory actions pending against the

Defendants by 21 States. In addition, the States of Minnesota and Missouri recently entered into

settlement agreements with the Defendants regarding their regulatory actions.

       The Receiver sent a letter to each of the regulators regarding their pending action against the

Defendants informing them of the Receiver's intent to cooperate with the regulators in entering into

a Consent Decree or Final Judgment, provided that any award of damages, fines, or orders of

restitution are submitted to this Court as part of the claims process discussed herein. In addition,

the Receiver sent a letter to the regulators of the States of Minnesota and Missouri to inform them

that the settlement agreements could not be funded, but that any damages, fines, or orders of

restitution to be paid under a settlement agreement must be submitted to this Court as part of the

claims process discussed herein.

                                                      IX.

                              FORMER EMPLOYEES OF DEFENDANTS

       As of September 24, 2020 when the Defendants' operations were shut down, the employees

of the Defendants had been paid through September 18, 2020. Upon learning of the receivership,



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the former employees made demand upon the Receiver for payment of the time they worked from

September 18, 2020, plus accrued vacation and unused sick leave.

       The Receiver reviewed the employment manual for the Defendants and found that sick leave

was not compensable and therefore determined that regardless of the circumstances there was no

obligation to pay former employees for unused sick leave.             In addition, the Receiver's team

interviewed numerous former employees to find out their role in the operation of the Defendants.

Most of the former employees were dialers or administrative assistants who proclaimed to know

nothing about the illegal sales activity being conducted by the Defendants.               These former

employees admitted, however, that their compensation in part was based upon commissions earned

from sales to investors.

       Based on the foregoing, the Receiver informed the former employees who had any

connection to the sales process that they would not be paid anything further because, regardless of

whether they worked in good faith, they did not provide any value to the Defendants in exchange

for the monies they were paid. Indeed, they only added to the number of victims and would have

no defense to a fraudulent conveyance claim by the Receiver.

       The Receiver also informed management of the Defendants that they would not be paid

anything further because not only did they not provide any value to the Defendants, they also did

not receive the monies in good faith.

       With respect to the engineers, programmers and marketing person working on software in a

different office on the    7th   floor of 8383 Wilshire, the Receiver provided them with an Affidavit to

complete attesting to their lack of knowledge of the wrongful actions of the Defendants and that

they played no role in the sales process. The Receiver informed these handful of employees that




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upon receipt of the executed Affidavit the Receiver would determine whether to seek permission

from the Court to pay them for their last week of work.

       Finally, the Receiver determined the Defendants used Tri-Net to manage payroll.         The

Receiver made demand upon Tri-Net to turn over to the Receiver any monies received from the

Defendants that have not been distributed to payroll.

                                                 x.
              RECORDS OF THE DEFENDANTS AND RELIEF DEFENDANT

       The vast majority of the records of the Defendants and Relief Defendant are digitally stored

on various cloud platforms such as Microsoft, Google, Drop Box, Salesforce, Intuit, and Amazon.

Defendants Asher and Batashvili, as well as the IT managers for the Defendant entities, claim that

because their personal computers were seized by the FBI they are unable to retrieve their login and

passwords required to access the cloud platforms. They claim that such logins and passwords

change often and are stored on the seized computers.

       The Receiver provided the SRO to each of the cloud platforms and demanded that they grant

the Receiver access.   After much delay, Microsoft finally complied with the SRO and granted

access to the Receiver. To further compel Google, Drop Box, and Sales Force to grant access to the

Receiver, the Receiver obtained from Defendants Asher and Batashvili their declarations

consenting to the cloud platforms to grant access to the Receiver. The Receiver provided the

Declarations to the cloud platforms and repeated his demands for access. Because of Google's

continued refusal to comply with the Court's Orders and even the declaration of Defendant

Batashvili the Receiver filed an Emergency Motion for "Show Cause" Hearing to Hold Google,

Inc. in Civil Contempt".   The Motion is pending before the Court. The Receiver intends to seek




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the same relief against other cloud platforms if they continue their failure to comply with the SRO

and the consents of Defendants.

                                             XI.

                         RECOMMENDATIONS OF THE RECEIVER

       Based on the foregoing, the Receiver make the following recommendations to assist in the

continuation of the receivership.

       A. PROCEDURES FOR RECEIVERSHIP

       On October 27, 2020, the Receiver filed his Motion for Order Governing the Administration

of the Receivership, Procedures Governing the Sale or Abandonment of Personal Property, Notice

of Intended Sale and Disposition of Various Items, Fee Application Procedures.       By this Motion,

the Receiver requests this Court to establish procedures for the Receiver to efficiently administer

the receivership estate and sell personal and real property. The Motion is pending before the Comi.

       B. CLAIMS PROCESS FOR INVESTORS

       Due to the amount of assets recovered to date, there are sufficient assets to justify the Court

implementing a claims process for the distribution of assets. Prior to November 30, 2020, the

Receiver will seek authority from this Court to establish procedures for a claims process that: 1)

approves a proof of claim form to be sent by the Receiver to all known investors and creditors; 2)

establishes a bar date or deadline by which all proof of claim forms with supporting documentation

must be submitted by investors and creditors to the Receiver; 3) establishes a process for the

Receiver to inform the Court regarding the claims received, make recommendations regarding the

claims, and provide an opportunity for investors or creditors to, object to the Receiver's

recommendation regarding claims; and 4) sets a hearing date for the Comito rule upon the claims

submitted by the Receiver and consider any objections to the Receiver's recommendations



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regarding the claims.

        Once the Court enters an Order with a list of approved investor and creditor claims the

Receiver will make a proposal to the Court regarding the classification of the claims and the means

of distributing assets to approved claimants. Upon entry of an Order from the Court approving the

means of distribution of assets to approved claimants, the Receiver can begin distributing monies.

The Receiver anticipates the claims process can be completed within the first quarter of 2021 and

that an initial distribution of assets can be made soon thereafter.

          C. COMPELLING DISCLOSURE OF SOURCE OF ATTORNEYS' RETAINER

       The Receiver requested counsel for Defendants Batashvili and Asher to disclose the source

of payment of the fees he is charging for representing Defendants, and specifically requested copies

of "all documents relating to all funds received by you or your firm, from, on behalf of, or for the

benefit of any of the Defendants ... "

       Instead of providing the requested information, however, counsel for the individual

Defendants responded only that he has not received a retainer or been paid by              Defendants

Batashvili or Asher. This answer, of course, is nomesponsive to the requested information and does

not comply with the attorney's obligations under the SRO.             The Defendants' attorney has not

provided to the Receiver any documents or information regarding the source of the retainer he

received, nor articulated any privilege that would preclude production of the information. At their

asset depositions, Defendants Batashvili and Asher testified as to the source of payments to their

counsel that they were aware of, but such testimony does not relieve the Defendants' attorney of his

obligations under the SRO.




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         The SR0, 20 as well as Fifth Circuit precedent compel the compliance of Defendants' counsel

with the Receiver's request. In FTC v. Assail, Inc., 410 F.3d 256 (5th Cir. 2005), cert. denied, sub

nom., Draskovich v. Robb Evans & Assoc. LLC, 126 S.Ct. 735, 163 L.Ed.2d 569 (2005) the Fifth

Circuit held:

             "[T]here is a clear principle that an attorney is not permitted to be willfully
             ignorant of how his representation is funded ... [W]hen an attorney is objectively
             on notice that his fees may derive from a pool of frozen assets, he has a duty to
             make a good faith inquiry into the source of those fees. Failure to make such an
             inquiry in the face of this duty will result in disgorgement of the funds." Id at
             265.

Assail relies on numerous cases that discuss an attorney's obligation to "do more than simply take

his client at his word" regarding the source of fees, id at 266, where an attorney is on notice that

the fees could be subject to forfeiture. See, McGraw v. Connelly, 838 F.2d 844 (6th Cir.

1988)(attorney who received fees from client whose assets were in receivership "was under a duty

of inquiry as to the source of his fees"); SEC v. Princeton Economic International, Ltd, 84

F.Supp.2d 443, 446, 447 (S.D.N.Y. 2000)("A lawyer who blindly accepts fees from a client under

circumstances that would cause a reasonable lawyer to question the client's intent in paying the fees

accepts the fees at his peril"); In re Moffitt, Zwerling & Kemler, P.C., 846 F.Supp. 463 (E.D. Va.

1994)(requiring forfeiture of funds paid to firm that made no efforts to asce1iain the source of funds

paid by defendant indicted for sale of narcotics).

         The only means by which the Receiver can determine with certainty whether counsel for

Batashvili and Asher complied with the Fifth Circuit standard is to learn from the attorney the

source of the monies he received as a retainer.




20
    "34 .... and all other persons or entities served with a copy of this order, shall cooperate fully with and assist the
Temporary Receiver. This cooperation and assistance shall include, but not be limited to, providing any information to
the Temporary Receiver that the Temporary Receiver deems necessary to exercising the authority; ... "

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       Moreover, the lawyer is not entitled to any privilege or protection precluding disclosure of

the source of the funds he received.    First, the Fifth Circuit and other courts recognize that the

source of payment of attorney's fees is not generally protected by the attorney-client privilege. In

re Grand Jury Subpoena for Attorney Representing Criminal Defendant Reyes-Requena, 913 F .2d

1118, 1123 (5th Cir. 1990); see also, In re Grand Jury Subpoenas, 906 F.2d 1485, 1488 (10th Cir.

1990)("It is well recognized in every circuit, including our own, that the identity of an attorney's

client and the source of payment for legal fees are not normally protected by the attorney-client

privilege"). Further, even without regard to the freeze provisions of the SRO, defendants are not

entitled to utilize the proceeds of fraud to fund their defense. SEC v. Quinn, 997 F.2d 287, 289 (7th

Cir. 1993)("Just as a bank robber cannot use the loot to wage the best defense money can buy, so a

swindler in securities markets cannot use the victims' assets to hire counsel who will help him

retain the gleanings of his crime"); SEC v. Princeton Econ. Int 'l Ltd., 84 F.Supp.2d 443, 447

(S.D.N.Y. 2000)(holding that defendant in securities fraud action "may not use funds obtained by

fraud to pay his defense"); see also, Caplin & Drysdale, Chartered v. United States, 491 U.S. 617,

623, 109 S.Ct. 2646, 2651, 105 L.Ed.2d 528 (1989)(even funds not previously restrained by freeze

order are subject to subsequent forfeiture after they have been transferred to an attorney for

payment of fees, ifthe funds were derived from criminal activity).

       There is no basis for Defendants' counsel to continue his refusal to disclose the source of his

retainer or the source of payment of any fees incurred to date.        Indeed, in similar forfeiture

proceedings in which the government seeks the recovery of attorney's fees paid from ill-gotten

gains, the government may compel the attorney's testimony as well as the production of documents

regarding his fee arrangement and the source of his fees.         United States v. Saccoccia, 898

F.Supp.53, 60 (D. R.I. 1995); see also, In re Grand Jury Subpoena c/d 91R0052 -11, 142 F.R.D.



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122, 128 (M.D.N.C. 1992)(ordering attorneys to comply with subpoena for the production of

documents and statements related to the payment of attorney's fees). Here, by counsel for the

Defendants ignoring the repeated requests of the Receiver, the Defendants' counsel is effectively

telling the Receiver, "it is none of your business." The information is unmistakably relevant to the

Receiver's duties and obligations under the SRO, however, and the Fifth Circuit mandate to

attorneys to investigate the source of their retainers in cases such as this underlines the relevance.

The Receiver requests this Court to compel the attorney for the Defendants Asher and Batashvili to

produce documentation showing the source of the monies counsel has received for representing the

Defendants in this case.

           D.       ENFORCE DEFENDANTS' COMPLIANCE WITH THE SRO

           To date, Defendants Asher and Batashvili are choosing when to comply with the SRO and at

their discretion, the provisions of the SRO they wish to follow.

            1.      Despite the injunction against the Defendants transferring any assets, the Receiver

discovered the following email in which Defendant Asher attempted to sell his Ferrari 21 .

                 "On Mon, Sep 28, 2020 at 7:10 AM Lucas Asher <asher@towerequity.com> wrote:

                 Good morning Donny,

                 I am leaving town for business and interested in selling back my 488 I bought from you.
                 Perfect condition. Brixton Forged ceramic wheels and novitec rear spoiler (about 20k in
                 extras) Will be open to a fast offer if you're interested.

                 Best,

                 Lucas 310-866-6213"

Fortunately the Receiver took possession of the Ferrari before it could be sold.




21   When confronted with this evidence, Defendant Asher contends he did not authorize the email.

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        2      The Receiver requested Defendants Asher and Batashvili to provide a sworn

declaration regarding the vehicles they own or lease. After several requests Defendants Asher and

Batashvili provided such declaration. In the Declaration, Defendant Asher lied to the Receiver. He

claimed under oath that he leased a Mercedes G Class when in fact the Receiver discovered he

owned the Mercedes.

       3.      The Receiver made numerous requests for Defendants Asher and Batashvili to

provide a list of the entities they own or control. The lists were not produced until the Receiver had

to file an Emergency Show Cause Motion seeking to have the Defendants held in contempt for

violating the SRO. The list finally submitted is incomplete at best according to the books and

records discovered by the Receiver that show Defendants Asher and Batashvili owning many more

entities than they disclosed.

       4.      Contrary to their express obligations under the SRO, Defendants Asher and

Batashvili have not voluntarily produced assets or documents to the Receiver. Instead, they wait

for the Receiver to identify an asset and make several requests of their attorney for turnover of the

assets. During their depositions Defendants Asher and Batashvili identified persons who might

have knowledge about certain assets or be able to assist in the turnover of such assets, but there was

no evidence of Asher and Batashvili taking any affirmative steps to contact such persons about

turning over the assets to the Receiver.

       5.      At his most recent asset deposition Defendant Asher claimed he could not recall

even basic information such as the address at which he was living, the name of the friend who let

him stay in the house, or even his cell phone number. Defendant Batashvili was likewise just as

evasive. The evasiveness of Defendants Asher and Batashvili in their asset deposition demonstrates




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their failure to cooperate with the Receiver and affirmatively take steps to turn over assets and

records as required by the SRO. 22

         The Receiver interprets the foregoing as the Defendants Asher and Batashvili having no

respect for this Court's Orders. If the Defendants Asher and Batashvili continue to disregard the

SRO, the Receiver intends to seek a hearing at which the Defendants Asher and Batashvili can

appear before the Court and explain to the Court why they are not fully complying with the SRO.

         E.     TIMELINE FOR THE RECEIVERSHIP

         The Receiver recommends continuation of the receivership to complete the discovery,

seizure, and liquidation of additional assets; pursuit of claims against recipients of fraudulent

transfers; completion of the claims process described above; and distribution of the assets recovered

to the approved claimants. With the significant scope of the receivership, number of investor

victims, and amount of loss, the Receiver estimates it will be necessary to continue the receivership

in place through 2011 and into 2022.


Respectfully submitted, November 10, 2020.

                                                RECEIVER KELLY M. CRAWFORD


                                                Isl Kelly M Crawford
                                                Kelly M. Crawford, Receiver
                                                State Bar No. 05030700
                                                SCHEEF & STONE, L.L.P.
                                                500 North Akard, Suite 2700
                                                Dallas, Texas 75201
                                                Tele: 214/706-4200
                                                Fax: 214/706-4242




22The Receiver intends to file a motion to compel with the Court citing the numerous evasive answers given by
Defendants Asher and Batashvili in their depositions.

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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 10, 2020 I electronically filed the

foregoing document with the clerk of the U.S. District Court, Northern District of Texas, using the

electronic case filing system of the court.




                                                   Isl Kelly M. Crawford
                                                   KELLY M. CRAWFORD




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                                                               ~_ft_
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                                                    PHILADELPHIA PROPERTIES

                                                                                       Realtor
                           Date to                     Purchase       Assessed          2020
                           Tower          How          Amount          Value            Value
  1 6885 N. 19th          4.8.19     Sheriff Deed        $120,000       $180,184   $     234,800
  2 6308 Chester          6.24.19    Sheriff Deed         $48,000        $58,277   $      70,000
  3 6616 Chew             12.15.18 Sheriff Deed           $70,000       $107,464   $     141,000
  4 6139 Chancellor       3.12.19    Sheriff Deed         $50,000        $41,400   $     101,000
  5 5135 Jackson          3.12.19    Sheriff Deed         $40,000        $68,175   $     123,000
  6 5782 Haddington       6.24.19    Sheriff Deed         $80,000        $72,600   $     148,999
  7 2222 S Clarion        3.12.19    Sheriff Deed        $125,000       $184,224   $     257,000
  8 1921 S. Croskey       9.24.19    Sheriff Deed         $75,000        $83,100   $     167,200
  9 1851 S Ringgold       1.28.19    Sheriff Deed         $76,000        $63,933   $     186,100
 10 827 Rhawn             12.15.18 Sheriff Deed          $145,000       $185,335   $     242,300
 11 1679 E Hunting Park   3.12.19    Sheriff Deed         $54,000        $87,600   $     143,999
 12 532 E Penn            6.24.19    Sheriff Deed         $59,000        $75,548   $     179,999
 13 443 W Roosevelt       6.24.19    Sheriff Deed         $60,000        $74,033   $     126,800
 14 434 E Cheltenham      6.24.19    Sheriff Deed         $97,000       $120,695   $     240,000
 15 404 N Wanamaker       6.24.19    Sheriff Deed         $38,000        $57,772   $     100,100
 16 178 Rosemar           6.24.19    Sheriff Deed         $55,000        $94,940   $     111,300
 17 106 E Roosevelt       7.19.19    Sheriff Deed         S62,ooo       $112,817   $     156,400
                                                    $ 1,254,000.00                 $ 2,729,997
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                         INVESTMENTS BY TOWER EQUITY



 1. Spotify USA Inc.
 2. Space Exploration Technologies Corp.
 3. Slack Technologies, Inc.
 4. Palantir Technologies
 5. Pintrest
 6. BuzzFeed, Inc.
 7. Planet Labs, Inc.
 8. Airbnb, Inc.
 9. DoorDash, Inc.
 10. Postmates, Inc.
 11. Hyperloop technologies, Inc. (Virginhyperloop)
 12. Robinhood Financial, LLC- Robinhood.com
 13. Adaptive Biotechnologies
 14. Flexport, Inc.
 15. Betterment, LLC
 16. Bittrex, Inc.
 17. Bitfinex
 18. Dave.com
 19. Circle
 20. Ripple




                                              EXHIBIT

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                                                                           Dated: October 26, 2020



                   Corporate Entities Owned or Controlled by Lucas Asher

        The following is a list of entities that Lucas Asher believes are in his ownership or
control. The list was compiled from memory, and without the benefit of any documentation or
outside assistance. As a general practice, Mr. Asher relied on lawyers and other professionals
to create corporate entities and manage the corporate governance issues, so he does not have
personal knowledge of all the entities that may be listed in his name. Some of the entities are
technically owned by other entities, but the relevant legal documents are not available for
immediate review. For all these reasons, the list may be inaccurate or incomplete.

Best New, Inc.
Tower Holdings, Inc.
TMTE, Inc.
Tower Equity LLC (partial)
Street Invasion, Inc
Faulkner Music LLC
Prometheus Laboratories Int Corp (IBC)
Prometheus Laboratories Int Corp (PIF)

Graham Norris, Norris Law Group referenced the following entities which Mr. Asher recognizes,
but does not know his role, e.e., whether he has legal possession of control of any of these
entities or their assets.

Chase Metals, Inc.
Chase Metals, LLC
Access Unlimited, LLC
Retirement Insider, LLC
USA Marketing, Inc.
Stuttgart Industrial, Inc.
Aqua Billboards, Inc.
Reagan Financial, Inc.
Egon Pearson, LLC
TX Admin, Inc.




                                                                                  EXHIBIT

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                                                                              Dated: October 26, 2020



                Corporate Entities Owned or Controlled by Simon Batashvili

        The following is a list of entities that Simon Batashvili believes are in his ownership or
control. The list was compiled from memory, and without the benefit of any documentation or
outside assistance. As a general practice, Mr. Batashvili relied on lawyers and other
professionals to create corporate entities and manage the corporate governance issues, so he
does not have personal knowledge of all the entities that may be listed in his name. Some of
the entities are technically owned by other entities, but the relevant legal documents are not
available for immediate review. Accordingly, this list may be inaccurate or incomplete.

Tower Equity LLC
Barrick Capital Inc.
First American Estate and Trust, LLC
Tower Estates Inc
Tower Property One, LLC
Delaware Wholesale Inc.
chasing metals inc.
Merrill Gold, LLC
Tower Property 2, LLC
Tower Estates Holdings, Inc.

Graham Norris, Norris Law Group referenced a number of entities which Mr. Batashvili does not
recall or recognize.




                                                                                       EXHIBIT

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             ADDITIONAL ENTITIES OWNED OR CONTROLLED BY
           DEFENDANTS LUCAS ASHER AND/OR SIMON BATASHVILI



Access Unlimited LLC
Administrative Account Services, LLC
Amerivise, LLC
Best New, Inc.
Brighthouse Estates, Inc.
Chasing Gold
Egon Pearson, LLC
Faulkner Management Corp.
Federal Services, LLC
First American Savings, Inc.
lnstribution, LLC
Newmont Admin.lnc. and/or Newmont Financial or Nemont, Inc.
Northwestern Metals
Reagan Financial, Inc.
Retirement Insider, LLC
Reva, LLC
Select Financial, Inc.
Stuttgart Industrial, Inc./Aqua Billboards
Tower, LLC
Tower Property One, LLC
TX Adm in, Inc.
USA Accounts, Inc.
USA Marketing, Inc.
Republic House Committee




                                         EXHIBIT

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